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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

RIGOBERTO SALINAS,

       Petitioner,                                  Crim. No. 00-80581-09
                                                    Civil No. 04-72875

-vs-                                                PAUL D. BORMAN
                                                    UNITED STATES DISTRICT JUDGE

UNITED STATES OF AMERICA

      Respondent.
________________________________/

             ORDER: (1) ACCEPTING THE MAGISTRATE JUDGE’S
   REPORT AND RECOMMENDATION AND (2) DENYING PETITIONER’S MOTION,
     PURSUANT TO 28 U.S.C. §2255 TO VACATE, SET ASIDE, OR CORRECT HIS
                       CONVICTION AND SENTENCE

       The Court has reviewed the Magistrate Judge’s Report and Recommendation, filed on

November 30, 2004 and any objections filed thereto.

       IT IS ORDERED that the Report and Recommendation is accepted and entered as the

findings and conclusions of this Court, and Petitioner’s Motion, pursuant to 28 U.S.C. §2255 to

vacate, set aside, or correct his conviction and sentence is DENIED.



                                                    _/s/ Paul D. Borman
                                                    PAUL D. BORMAN
                                                    UNITED STATES DISTRICT JUDGE

DATED: 4/29/05
